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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Anjanette Young
                                     Plaintiff,
v.                                                       Case No.: 1:19−cv−05312
                                                         Honorable John J. Tharp Jr.
The City of Chicago, et al.
                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, December 14, 2020:


        MINUTE entry before the Honorable John J. Tharp, Jr:Defendant;s motion to
enjoin CBS 2 from violating the court's confidentiality order [38] is denied. CBS 2 is not a
party to this case and is not subject to the confidentiality order. The motion is denied
without prejudice to the request for sanctions against plaintiff. The Court will set a further
hearing in regards to the sanction motion shortly.Mailed notice(air, )




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